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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Crim No.: 22-cr-133 (CKK)
                                             :
              v.                             :
                                             :
ARIAN TAHERZADEH                             :
                                             :
              Defendant.                     :


                 JOINT STATUS REPORT AND MOTION TO CONTINUE

       The United States of America, by its undersigned attorney, hereby submits this Joint

Status Report.

       The Government states as follows:

       1.        On August 1, 2022, the Defendant, Arian Taherzadeh, pleaded guilty to a

Superseding Information charging him with one count of Conspiracy, in violation of 18 U.S.C.

§ 371, one count of Voyeurism, in violation of 22 D.C. Code 3531, and one count of Unlawful

Possession of a Large Capacity Ammunition Feeding Device, in violation of 7 D.C. Code

2506.01(b). (D.E. 54)

       2.        On October 27, 2022, the Court continued a status conference previously set for

November 2, 2022 and directed the parties file a Status Report by January 27, 2023.

       3.        As part of Defendant’s plea agreement, he has agreed to cooperate with the

Government in its ongoing investigation of other subjects involved in relevant criminal activity.

       4.        The Defendant remains on release on his personal recognizance. Since the

Defendant’s guilty plea, he has continued to make himself available should the Government


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need to meet in furtherance of its investigation.

       5.      Haider Ali, the co-defendant, is scheduled to be sentenced on April 25, 2023.

       6.      Accordingly, the Government asks that it be allowed to file another status report

with the Court on or before Friday, March 31, 2023, to update the Court on the status of the

Defendant’s cooperation, and whether, at that time, the parties are ready to proceed to

sentencing.

       7.      The Government has conferred with counsel for the Defendant, and the defense

does not object to this request.

       WHEREFORE, the Government asks that it be permitted to file another status report on

or before March 31, 2023.



                                                    Respectfully Submitted,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY



                                              By:   /s/ Joshua S. Rothstein
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                                                    Joshua S. Rothstein
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of January, 2023, a copy of the foregoing was sent

via e-mail to counsel for the defendant, Shelli Peterson.




                                              /s/ Joshua S. Rothstein
                                              Joshua S. Rothstein
                                              Assistant United States Attorney




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